4:08-cr-03001-RGK-DLP        Doc # 84    Filed: 07/30/08   Page 1 of 2 - Page ID # 360




                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )            4:08CR3001
                                         )
                    Plaintiff,           )
                                         )
      vs.                                )            MEMORANDUM
                                         )            AND ORDER
RENE MANUEL VARGAS-                      )
MIRANDA and SANTIAGO                     )
LOPEZ-MENDOZA,                           )
                                         )
                    Defendants.          )

        The government has filed a motion in limine (filing 78) as to both defendants
in this matter. Because defendant Rene Manuel Vargas-Miranda has entered a plea
of guilty and is proceeding to sentencing (filing 83), I shall deny the motion in limine
as moot as to this defendant. As to defendant Santiago Lopez-Mendoza, I shall hold
the motion in limine in abeyance and shall not consider the motion until the first day
of trial unless a party shows cause, within five days of the date of this order, why such
deferral would be inappropriate.

      IT IS ORDERED:

     1.    The motion in limine (filing 78) is denied as moot as to defendant Rene
Manuel Vargas-Miranda; and

       2.     As to defendant Santiago Lopez-Mendoza, the motion in limine (filing
78) shall be held in abeyance and not considered until the first day of trial during the
pretrial conference which will be held in chambers immediately prior to trial, unless
a party shall show cause, within five days of the date of this order, why such deferral
would be inappropriate.
4:08-cr-03001-RGK-DLP   Doc # 84   Filed: 07/30/08   Page 2 of 2 - Page ID # 361




    July 30, 2008.
                                   BY THE COURT:
                                   s/ Richard G. Kopf
                                   United States District Judge




                                     2
